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 9 Attorneys for Defendant ELIZABETH A. HOLMES

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11                               UNITED STATES DISTRICT COURT

12                             NORTHERN DISTRICT OF CALIFORNIA

13                                       SAN JOSE DIVISION

14
     UNITED STATES OF AMERICA,                 )   Case No. CR-18-00258-EJD
15                                             )
            Plaintiff,                         )   DECLARATION OF AMY MASON SAHARIA
16                                             )   IN SUPPORT OF MS. HOLMES’ MOTION TO
       v.                                      )   ADMIT PRIOR TESTIMONY OF RAMESH
17                                             )   “SUNNY” BALWANI
     ELIZABETH HOLMES and                      )
18   RAMESH “SUNNY” BALWANI,                   )
                                               )   Hon. Edward J. Davila
19          Defendants.                        )
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     DECLARATION OF AMY MASON SAHARIA IN SUPPORT OF MS. HOLMES’ MOTION TO
     ADMIT PRIOR TESTIMONY OF RAMESH “SUNNY” BALWANI
     CR-18-00258 EJD
             Case 5:18-cr-00258-EJD Document 1163-1 Filed 11/24/21 Page 2 of 3




 1           I, AMY MASON SAHARIA, declare as follows:

 2           1.    I represent Defendant Elizabeth Holmes and have been admitted to practice pro hac vice

 3 in the above-captioned matter. I submit this declaration in support of Ms. Holmes’ Motion to Admit

 4 Prior Testimony of Ramesh “Sunny” Balwani. I attest to the following facts upon which the Motion

 5 relies.

 6           2.    Attached to this declaration are 11 exhibits. The contents of the exhibits are as follows:

 7                 a.      Exhibit A is a true and correct copy of excerpts of the August 9, 2017 United

 8 States Securities and Exchange Commission (“SEC”) deposition of Mr. Balwani.

 9                 b.      Exhibit B is a true and correct copy of excerpts of the August 10, 2017 SEC

10 deposition of Mr. Balwani.

11                 c.      Exhibit C is a true and correct copy of excerpts of the September 7, 2017 SEC

12 deposition of Mr. Balwani.

13                 d.      Exhibit D is a true and correct copy of excerpts of the October 11, 2019 SEC

14 deposition of Mr. Balwani.

15                 e.      Exhibit E is a true and correct copy of a November 23, 2015 subpoena issued by

16 the SEC to Theranos, Inc.

17                 f.      Exhibit F is a true and correct copy of a December 8, 2015 subpoena issued by the

18 SEC to Theranos, Inc.

19                 g.      Exhibit G is a true and correct copy of a February 16, 2016 subpoena issued by

20 the SEC to Theranos, Inc.

21                 h.      Exhibit H is a true and correct copy of a May 27, 2016 subpoena issued by the

22 SEC to Theranos, Inc.

23                 i.      Exhibit I is a true and correct copy of a January 11, 2016 subpoena issued by a

24 grand jury to Theranos, Inc.

25                 j.      Exhibit J is a true and correct copy of a November 30, 2016 subpoena issued by a

26 grand jury to Theranos, Inc.

27                 k.      Exhibit K is a true and correct copy of a September 6, 2017 subpoena issued by a

28 DECLARATION OF AMY MASON SAHARIA IN SUPPORT OF MS. HOLMES’ MOTION TO
   ADMIT PRIOR TESTIMONY OF RAMESH “SUNNY” BALWANI
   CR-18-00258 EJD
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 1 grand jury to Theranos, Inc.

 2         I declare under penalty of perjury under the laws of the United States that the foregoing is true

 3 and correct to the best of my knowledge.

 4         Executed this 24th day of November 2021 in Rockville Centre, NY.

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 7                                                       AMY MASON SAHARIA
                                                         Attorney for Elizabeth Holmes
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28 DECLARATION OF AMY MASON SAHARIA IN SUPPORT OF MS. HOLMES’ MOTION TO
   ADMIT PRIOR TESTIMONY OF RAMESH “SUNNY” BALWANI
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